                   Case 6:09-cr-60006-RTD Document 123                               Filed 12/14/09 Page 1 of 6 PageID #: 325
,rdAOl45E            (Rcv.06/05)Judgrileltilt n Ciirrrixnlfirle
                     ShcEL I




                                                  UxrreoSrnresDrsrnrcrCounr
                               WESTERN                                   District oI                            AI{KANSAS
              UNITED STATE.SOF AMERICA                                           .IUDGMENTIN A CRIMINAL CASE
                                      v.
                      RICI]ARD W. ROBBINS                                        flase Number:                  6:09CR60006-004
                                                                                 USM Number:                    08551-010
                                                                                 Morsc fl. Gist.,Jr.
                                                                                 Defendaol's
                                                                                          Artorlret
'l'Ill!
          DIJIiIiNDANTT
X pleadedguilty to count(s)                 Olre flnd Iiive ol'the lndi{.:trncnt
                                                                               dn Scptcmbcr2, 2009

!   plcadcd nolo contendere to count(s)
    which wus acceptcd hy the court.

I wusfirun<Jguilty on count(s)
  rLltcra plca of not guilty.

Thc rlcicndantis adjudicatedguilty of theseoffenses;

'l'lile & Sfttiorr
                                         Natlltelf Offense                                                      A!!ut@                   Couttt
l8 r.r.s.c.
         $ 241                           Conspiracy Agtinst Llivil Rights                                         06/?l/2008                 I

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       The defendnntis setltencedtr$pn)vidcd in puges2 thlorrgh             of this j udgntent.              i$ irnposcdwiihin thc
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st{tLrtory
         rangcnndtheII.S- SentencinE  Cuidelinesweft considcrcd asadvisory.

n Thc dctendanr
              hasbeenfoundnot guilty on coudt(s)

! Count(s)                                                        n is   n lrc disnrissed
                                                                                        on the nrotionofthe UniredSrates,

          It is ordcrcd thot the defendant nrust totify the Urtited SlflIes flttdntcy krr this district within 30 davs ofanv chance of nenre, residence.
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lhe dEf'enilanlrI)ust ruttily thc coun tnd United States aitorney of nratelial changes iri ecoriorriic {.'ircumstanti.s.

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                                                                                                  of Jud8menr


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                                                                                 Nrmc md litl(l of .lud8q



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                  Case 6:09-cr-60006-RTD Document 123                              Filed 12/14/09 Page 2 of 6 PageID #: 326
AL) 245Ij        (R€v. 06/05JJudgrffnL in Crimind Crsc
                 $hccl2 - Imlrisornrcnr

                                                                                                            Judgment-firgE       I      of
DEFENDANT:                          RICHARD W. ROBBINS
LIASL,NLIMtsER:                     6:09L1R60006-004


                                                                     IMPRISONMENT

            Thedefendant
                      is hereby
                              conrrnitted
                                       to thecustody
                                                   oftheUnitedStltesIJurenu
                                                                          ofPrisons
                                                                                  to beirnprisoned
                                                                                                for a
 total te tl ol'i          twclvc (12) months fl d on€ (l) day on each rou 1,lerfiLsto run c{)nrurr€nlly,




  n         The courr makesthe firllowins recorrrnendations
                                                          to the Bulear of Irrisons:




  n         The defendarrtis rernandedto tlre custodyof the United StatesMrrrshal.

  tr 'l'he det'endantshrrllstlfiefldertd thc ljnitcd StatcsMarsha]tbr this district:
            n      ilt                                   !   a.nr.    F   p.ln-    on

            !      ts ndtified by thc:Unitcd StatesMarshal.

  X         I he defendantsltall surtndcr lbr scrviccof scntcnL:e
                                                                at tbe iD$titutiondesignatedby the IJufeauof Prisons;

            X      bcfirre I p.m. or1       Fehlualy 0, ?010

            tr     as notified hy the lhited StiltesMarshal.

            tr     as notitjed by the Prdblrtidnor Prctrial ScrvicesOtllce-



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             this.judgnrent
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                                                                                  By
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                 Case 6:09-cr-60006-RTD Document 123                            Filed 12/14/09 Page 3 of 6 PageID #: 327
ALI ?458        (Re', 06/0J) Judgheflr in a Criminal Cnsc
                Shcrt 3-Supcrviscd Rclcssc
                                                                                                             Judrmcnt-Pagc     I     ol
DEFENDANT:                        RICI{ARDW. ROBB]N,s
CASIlNI.MRF,R:                    6:09CR60006-004
                                                  SUPT]RVISF]I}RI.]I,H,ASI'
IJpon rclc:asct'iom inrprisonment,the defendantshall be on supelvisedreleasefor a teln ol';               thrcc (3) ycsrs oll cftch rorDrt,tcrnE to
run concurrentlv.




    Thc delendantnrustreportto the probationoffice ill ttredistlict to whicll the dcltndant i$ rclL:ascdwithin 72 hoursol rclcasclnrm thc
custodyof the IJureauofPris'rns,
The defendant
           shallnot comrnitnnotherfedertl.stnt or locrl crirnc,
Thc dclcndantshrll nut unlawlullv rrossessa controlledsubstance.The det'endant       shnll relifli liorn ilrry unlawlul uscol x contrullcd
suhstance.The defendantshall sutrilit to one rlrttg tesl withirl 15 rlnysol'rcL:ascliom imprisonmcntanil atlcasttwo pedodicdrug tests
rltertafter.asdeterrrtirltdby thc court,

!                                                       basedon the coun's deternrinationthnt the defendantposesa low risk of
           Ihe abovedrug testirrgcduditir)nis riuspcnded,
                          abuse,(Check,if npplicuhlc.)
           l\rturesubstance
X          Thc:dcfendantsball not possessa fileartn, nnrnunitiort,dtstuctivc dcvicc,or any other darrgerousweapon. (Check,ifapplicable,)

X          The rlefendartshall cooperateiu the cilllectio dl DNA usdircctedby the plobationofficer'. (Check,ifapplicable.)
           'fhc
 n               dr:lcnduntshall rcgisterwith the statesex offen(lefregisbatidnLLgcncy
                                                                                     in thc statcwhcre the detbndantresides,works, ol is a
           student,   asdiruc(edtry thr probarionolhcer. (Check,if applicahle.)
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 [f                        shtll prrrticipntcin an approvedprogranrtbr domesticvioler)ce. (C]hcck,ii upplicnbtc.)
                 rlet'enrlant

_ . ll thisjudgnrcnt imposes.afineol restihltion,it is fl crl ditidn ljl $upcrvi$cdreleasethat the defendafltpay in accordalcewith the
Schedule ofl,aynrenrs slieetdf rhisjrLdEmcnt.
    _The defeldant nlust cornply with thc $tandardconditionsthat havebeerradoptedby this cuurt n$ wcll us with any adrJitionalconditions
on the rrttfthcd DrpL:

                                              STANDARDCONDITIONITOF SUPERVISION
      I)    tht dclcndflntshull not leavethe j udicial d istfict without the Fcrrni$si()nof thc coun or prohationoffice,r'i
      2)the'defendantshlllre porttothcProhati01officer.artdshal|Submjtntrthti|ltIIdcdInPl(ltcwrittcnrcp
            c sll rn{Jnthi

      3)    the defendantshall fluswcrtruthfrLllyall inquiriesby the p|obationolTicerflnd ib]k)w rhc instructionsof the prohationoflicer;
      4)    thc dcf-endant
                        shall supporttrisot her dependcntsirndmeetotlrerfanrily rtsponsibilities;
      -5) tht dclcndantshall work regularly at a lawful dccr.rpati(), unlcsscxcusedhy the Frobationofficer for schoolirrg,tririnirrg,or ilther
          acceDlableteasons:
      o.J thc dclcndantshall Dotity the probationotl'icerflt lcrlrittcn daysprior to any changein residenceor er])Floylnent;
      7)    thedefqndiln!
                        shullrcliain liou excessiverrseof alcoholandslllrllnd! purcha$c,possess,use,distrihute,or adrlinistelany
            cuntrolledsuhstarrce
                               or any paraphenalir relttcd tu any controlledsuhlstances,
                                                                                      iicept as prcdcribedby ir physicran;
      8)    the del'endtnlshrLllnot lrcqucnt placeswherecontlolleclsrbstirrrces
                                                                              firr illct{ally $old, u$ed,distr-ibuterl,
                                                                                                                     or administe|ed;
      e) the dEfEndantshall r)otrlssdcidtcwithjrny pcrsonsengagedin -c-rinrifal:rctivity arrdshrlllndt ir$sociatcwith any pcmonnrnvicted of u
            lllony, unlcssgrantedpellnissionto do Soby the pnrtutirxr olliccr;
    .[0)    thc dcflndant shall pernrita p|olratio glllcer td vi$it llim or hcr at a]rytime at horneor elsewhereand shall permitcontiscatiorrol any
            connabandobservedirl plrrirlvicw of rhc prohationofficer;
    ll)dredef.endantsha||notitytheprobttiorrol]iccrwithirrscvcnty-tw(''houfofbeingarfestedorqt|es|iottedbytlawenfdrceIIltIltd
    l?)     the defendantshnll trot cntcr into any agreernentto act as an informer or a specixlagcnt dl d luw cnlirrccmcntogcncywithout the
            Dcrmrisronot the coun: ancl
    l3)     LLs
              dirccrcdbv thcrirohation  officer,thedefendant shflllndlil'ythirdD nic:iot ri$ksthntmavbeoccasioned        lrvthedefendant's crinrinal
            recold or oeis,rrtnlhistdrv or chiructcristicsand shall nerriit the irrrrbation officer tr:rrriakesuch notillcirtionsand to cuntlrm thc
            dclcndant'sconrnlianceriith such notificationrcquirernrnt,
           Case 6:09-cr-60006-RTD Document 123                          Filed 12/14/09 Page 4 of 6 PageID #: 328
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           Shr(rJC - SuprrviledRelrise
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DIiFIiNI]ANT:            RICHARD W. ROBBINS
CASEMJMBER:              6:09CR60006-004

                                      SPECIAL CONDITIONSOF SUPERVISION

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     supervisedrcleasc.The deferrdant  shallwarn 4ny othcr residcnfsthat their prcnrisisnraybc suhjcctto scarchpuriuflntlo this condjtjon,
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               Case 6:09-cr-60006-RTD Document 123                                           Filed 12/14/09 Page 5 of 6 PageID #: 329
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              Shc{t 5 -(}iminr   Munrturv PcnrlLics
                                                                                                                  lrd8mcnt-Prsc     5     ul
DEFENDANT:                            RICHARDW, ROBBINS
CASENUMI3h,R:                         6:09CR6000fr-004
                                            CRIMINAL MONETARY                                       PENALTIES

     The dcfbndantnrustDavthc tl)tlrl crimindl mdnctrlrvDcnitlticsunderthe schetluleof oavtnetttson Sheet6.


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 n   The detenrrirlrlio[ of restinrtionis det'effeduntil                          Ar       Anetded Jkdx xe t in fl C uinfll Ca.te(AQ 245C) will bc mtcred
     aftersuchdeterrnination-

 n   Thc dclcndrrntrr)ustrr)akerestilution(inclrrdingcomrnunityrustitutiofl)to the following payeesin the anrountlistedbel(]w.

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n     Restilutidrt tLrrtdUrltofllered pursuallt to Flclr {grccmcnt           $

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tr         dr:l'srrdantrnustFoy intcrc$ton rcntitutiunand a fiuc of morc than$2,500,unlcssthc rcntitutionor linc is paid in full bt lbrs thc
      fitleerllh drryflfter the d[te df thejudElrncnt,pursunnlto l8 U.S,C,$ 3612(l). Al] ol ths Fayrrcnt ()plidrrsd Shect6ilHy be subject
      to perlflltiesIor delinquecy orr.ldellult, pursuruttu t8 u,s.Lr.$ 36I2(g),

X     The coun deternrined               doesnot havethe abilityto pay interestand it is odered that:
                         thatthe defendant

      X       the irrterestrerl irefirnt is wnived t'orthe         X       fine        !    restitution.

      n       dreinteresr
                        requirenrelt
                                  for the               I   fine       n     restirution         asfollows:
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           13,1994,hut het-ore
Septerrrh'ir                 April 23, 1996.
                Case 6:09-cr-60006-RTD Document 123                                   Filed 12/14/09 Page 6 of 6 PageID #: 330
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               Sheel6 -SclredulrofF ymeDt.
                                                                                                               Jud8mcnt-   Pusc _--9_   0l
 Db}bNDAN'I':                  RICHARD W. ROBBINS
 CASE NUMBER:                  6:09CR60006-004

                                                         SCHEDULEOf'FAYMEN'IS
 Ilaving assessed           abilityto pay,paynrentol thetotalcliminalnronetary
               thedefendant's                                                penalties
                                                                                     aredue asfollows:

 A      X      Lump sunrpaymentof $                               due imrne{.liately,
                                                                                   balancedue

               n     not laterthill                                       ,of
               X     i rccordallce        n Lr,nD,                !        .L, ot    X Ir below; or

 B      E      Paymcntto hcginimmcdiatcly(moyhe comhinedwith                        nC,       ED,or      IFhclow);or

 C      !            ir equal
               Payrnent                                (e.g.,weekly.rnonthly,
                                                                           quartedy)
                                                                                  insnllrrents
                                                                                            of $                                 overa periodof
                             (e.g.,monthsor yeals),to conrmence                           (e.g..30 or 60 days)afterthedateof this.irrdgrnent:
                                                                                                                                          or

        !      Payrnentirr equal                       (e.9.,wedHy.rr$rlthly,qu{rc y) ir)stxllrrtrrts,Ll
                                                                                                       $                     overa periodof
                             (e,g,. l rlrlths dr ycflrs), to corruncncc           (c,g,, 30 or 60 days) alicr rclcirscirom imprisdnnrcntto a
               tcrrnol supervrslon;
                                 {Jr

        n PLrymcntduring thc tcrm ofsupcrviscd rclcusewill commenccwithin _                     (e.g.,30 ot 60 days) after relcasetirrrl
               irnprisonfllcnt,Thc court will sct thc paymcntplarrbasedon an assessDrent
                                                                                      of the defbndant's ability to pay at thlt tir'De;or

        Y      Spcciulinstructi(ln$rrgarding the paynrentof criminal nronetarypenalties:
               lf not prid inrmcdiatcly,
                                       unyunpaidtinancialrJenalty     inrposedshallbe naiddulint therreriodof incarcelation   at a rateof notless
               than$25.f)0quarterly,ot l0'lo dfthe deftrrtlurit'sr.ruirterheorninss.rvhichcvcris srcatcr. Alicr incarccraLion.nv unprridiinancirl
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imprisonmcnt.All criminal monetarypenalties,excEptThose  pai,nrents
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Thc dclcndantshallrcccivecreditfirr lll payrnents
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       Dctcnduntanr.lCo-DefendantNamesand CaseNunrbers(includingde.fendattt
                                                                         flufirber),lotal Atrorxrt, Joiflt nnd SeveralArnoun(,
       andcolresponding payee,if appropriate.




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n           he defendirntsl)nll pny the cost oL prdsecution,

n      The dcfbndantslrallpay tlre tollowing coufi cost(s):
       'I'he
!           defeudantshall fodtit the defend$nt'sirrterestir) the lbllowing propertyto thr Ullited States:




Payrrtrtsshallhe appliedin the followingorder:( l) arsessment,(2) restitution
                                                                            DrinciDal,  (3) restitutioninterest,(4) linc principal,
(5) ilnc intcrcst,(6)iirmmunityrcstiLution-,
                                         (7) pcnalLics,
                                                      und(8) cirrts,includirr!cort irl prosccutionndcdurtcolts.
